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                        IN THE LINITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


RODERICK CARR,                                   )
                                                 )
                      Plaintill.                 )
                                                 )
                                                 )
                                                 )
XCEED FINANCIAL CREDIT UNION.                    )
                                                 )
                       Defendant                 )    Civil Action No. 3:21-CV-0061 -C


                                             ORDER

       The Parties have indicated to the Court that they have settled this civil action.

Accordingly, this case is   ADMINISTRATMLY CLOSED without                     prejudice to its being

reopened to enter an order of dismissal or to enter other orders    if the settlement   is not


consummated. counsel in this case are oRDERED to file appropriate dismissal papers on or

before 60 days from the date of thiTorder.

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